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16
                                UNITED STATES DISTRICT COURT
17                             NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
18
     SARAH ANDERSEN, et al.,                           Case No. 3:23-cv-00201-WHO
19
            Individual and Representative Plaintiﬀs,   NOTICE OF SUPPLEMENTAL
20                                                     AUTHORITY RELEVANT TO
            v.                                         PLAINTIFFS’ OPPOSITIONS TO
21
                                                       DEFENDANTS’ MOTIONS TO DISMISS
     STABILITY AI LTD., et al.,
22
                                       Defendants.
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     3:23-cv-00201-WHO
     NOTICE OF SUPPLEMENTAL AUTHORITY RELEVANT TO PLAINTIFFS’ OPPOSITIONS TO DEFENDANTS’
                                    MOTIONS TO DISMISS
             Case 3:23-cv-00201-WHO Document 115 Filed 10/16/23 Page 2 of 3




 1          Plaintiffs hereby notify the Court of newly issued authority relevant to their Oppositions

 2   to Defendants’ Motions to Dismiss (ECF Nos. 65, 66, 67). On October 13, 2023, the California

 3   Superior Court for the County of Los Angeles issued an Order denying Defendants’ demurrer on

 4   Plaintiffs’ common law negligence claim, holding that claims for negligence against social media

 5   companies may proceed under traditional common law principles. Order on Def.’s Dem. to

 6   Master Compl., Social Media Cases, L.A. Super. Ct. (2023) (No. JCCP 5255). In pertinent part,

 7   the Superior Court found, “that Plaintiffs [ ] adequately stated a claim of negligence based on

 8   lack of reasonable care in the Defendants’ own conduct from which harm might reasonably be

 9   anticipated.” Id. at 44. A true and correct copy of the order is attached hereto as Exhibit 1.

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                             DEFENDANTS’ MOTIONS TO DISMISS
            Case 3:23-cv-00201-WHO Document 115 Filed 10/16/23 Page 3 of 3




 1   Dated: October   ,                    By:          /s/Christopher K.L. Young
                                                         Christopher K.L. Young
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                            DEFENDANTS’ MOTIONS TO DISMISS
